Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 1 of 28 PageID #: 1908



   Dear Judge Glasser

      I hope with all my heart that this letter describes even a fraction of the
   wonderfully kind, generous, thoughtful, selfless man I know and fell in love
   with. I met Gregg Mulholland almost 16 years ago now as a single Mother
   and began what I can only describe as an old fashion love story. That
   blossomed into a deep caring relationship that was beyond what every little
   girl dreams of.

      From the first moment that I met Gregg at a restaurant with friends, I
   knew he was different than anyone I had ever met before. With my eight
   year old son Derald as the most important man in my life, I had no room for
   nonsense and with the man who became my husband 10 years ago there
   was none. Gregg's patience and honesty was a breath of fresh air that
   always left me wanting more, though I didn't make it easy for him. As silly
   and romantic as it sounds, after that first night at Chat Noir Gregg owned
   my heart, though I made him wait months until he proved through never
   ending gestures that we could meet for lunches. Lunches turned into
   chaperoned dinners with friends until finally our first date. By our first date I
   was already madly in love with the man who would become my husband
   who I am even more in love with today. Gregg embraced both Derald and I
   wrapping us in safety and security with what seemed like and unending
   commitment to us. Gregg seemed to take on the role of Step-Dad and
   husband as if it was his destiny. I could have never imagined more, until
   the arrival of our first daughter   . Being a Daddy to that little girl seemed
   to be what Gregg was made for only exceeded by the birth of our second
   daughter           14 months later.

     This unfortunately was right around the time that my husband and I
   became worried about significant developmental delays that          seemed
   to be experiencing. This is every parents worst nightmare and it delivered
   a devastating blow to our family. Gregg immediately took control of the
   situation with a calming strength that pulled our entire family closer than
   ever. Together we researched, and sought out doctors and specialists,
   who eventually and unfortunately confirmed our worst fears. Again my
   husband's gentle and unyielding strength and dedication to our family led
   the way to the courage to work through our obstacles as a family. I
   remember countless times being at what I thought was my wits end, only
   to be rescued by Gregg's strength and selfless love that never seemed to
   end. This love and dedication to our family propelled us through as much
   as 30 hours of therapy per week making all the difference in       's
   development. Through out this time Gregg never once neglected or wasn't
   there for anyone else in our family that ever needed him. He also found a
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 2 of 28 PageID #: 1909



   way to make if fun for our sweet little girl and her sister          instead of
   the horror it could have been for both our baby girls. Unfortunately this has
   built a necessary bond with both of our little girls that tears at them every
   single day that their Daddy is not here. Even though          has come so so
   far from where she started, I can see the catastrophic effects of her
   Daddy's absence.             is no stranger either to the pain of missing her
   Daddy; having been 4yrs old when he was taken from her.                  is still
   very confused and and hurt driven by her intense love for her Daddy that
   was so involved in every single aspect of her little life.. To say that Gregg
   is the love of my life, my best friend, and the glue that holds our family
   together doesn't come close to describing what Gregg is and what he
   means to our little girls, Derald and the rest of the family.

      Your Honor I pray with all my heart that this letter gives you even the
   smallest glimpse of the man I know and his true heart. I beg you and I beg
   with the voices of our little girls that don't just miss their Daddy, but need
   him for whatever leniency that you and your court will allow to send home
   my husband, best friend, and most wonderful father I could have ever
   imagined. Please find it in your heart to send home            and        's
   daddy that is not just missed and loved by but needed for their healthy
   growth and development. Sir; please allow me the lenience to send me
   home the man I love so much. Gregg is the strength and bedrock of our
   family and we will be forever fractured and lost until he is home. I'm not
   sure where Gregg lost his way and made these mistakes, but I do know
   that he is terribly sorry and regrets every single mistake that he has made.
   I do know that he is the best Daddy, Step-Dad, husband and person I have
   ever known and I cant help but beg you sir; for each and every minute that
   you will allow us to have him back.



   With all my heart and soul

    Delia Mulholland
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 3 of 28 PageID #: 1910
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 4 of 28 PageID #: 1911
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 5 of 28 PageID #: 1912
      Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 6 of 28 PageID #: 1913


                                                                              Sarah Trepel <sarah@kousouroslaw.com>



Fwd: Reference letter for Gregg r Mulholland
1 message

James <james@kousouroslaw.com>                                                                 Wed, Aug 10, 2016 at 7:09 PM
To: Sarah Trepel <sarah@kousouroslaw.com>



 Sent from my iPhone

 Begin forwarded message:


       From: Diana Calix <calix.diana@yahoo.com>
       Date: August 10, 2016 at 7:02:08 PM EDT
       To: james@kousouroslaw.com
       Subject: Reference letter for Gregg r Mulholland



       405 w.stevens ave
       Santa ana ca
       92707


       August 03 2016

       Dear sir/ madam:

       My name is Diana calix and i am writing this reference letter for Gregg r mulholland.

       I was Gregg r mulholland nanny for 5 years, i help hem to take care his two daugthers.


       Gregg has been the most amazing dad i know, and i know so many people and families but no one will
       compare to Gregg.

       He is an amazing dad, caring, loving, patience, supportive.
       He is the kind of men the will cook healty meals for his family everyday.
       I witnessed every day how much he loves his family, they mean everthing for hem.
       He always made sure his girls were in a safe enviroment.

       One of their favorite thing they used to do was cooking all together at dinner time, he also enjoy reading to
       his girls every night before they went to bed.

       His daughters love their dad they see hem as their everthing. These two cute adorable girls are the most
       important thing for Gregg.

       As a husband Gregg is very supportive, understandable, kind.

       He is very a very generous,
       Helpful person.
       He was always thinking how to help others.

       It is an honor to write a reference letter for Gregg R mulholland.

       Sincerely,
       Diana calix
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 7 of 28 PageID #: 1914




 Sent from my iPhone
      Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 8 of 28 PageID #: 1915


                                                                               Sarah Trepel <sarah@kousouroslaw.com>



Fwd: Gregg R .Mulholland
James <james@kousouroslaw.com>                                                                Thu, Jun 30, 2016 at 11:35 AM
To: Sarah Trepel <sarah@kousouroslaw.com>



 Sent from my iPhone

 Begin forwarded message:


       From: George Mulholland <oldmully@gmail.com>
       Date: June 30, 2016 at 11:31:27 AM EDT
       To: james@kousouroslaw.com
       Subject: Gregg R. Mulholland


       June 29/2016

       To Judge Glasser;

                This letter is very hard for me to write, trying to find the words to describe how Gregg from his
       early teens started working. He saved his earnings to buy his first car, it was an older car that he worked
       on to get it running well enough to depend on it. He got to work at the Calgary Stampede when he was
       sixteen as an usher in the grandstand.
               He enjoyed playing hockey and was always involved with the other players in helping organize
       the make up of the team. Fitness has always been a part of his lifestyle, when he moved to California
       he played rugby and was a good player who had some tryouts with the American Eagles but stayed
       with the local team.
               He also went to junior college to pick up more credits to get ahead in the job market to improve
       himself, he got into the nightclub and restaurant business for a few years and did quite well. He then
       moved
       on to Advertising Balloons and got it going pretty well and then sold it to move on to other things.
              He met his wife Delia and married in 2006, his two daughters came along           who is seven years
       old and          who is five years old Gregg spent a lot of love and energy teaching the girls right from
       wrong, Gregg doted on the girls working with them as much as possible. And as Grandparents and
       Parents we are proud of Gregg and our Granddaughters.
             I hope this may give you an idea to Gregg's personality and make up, and if you could show some
       leniency, to maybe help him get sent back to Canada, it would go a long way to help put our family back
       together, thank you.

                 George Mulholland              403­274­1862      (oldmully@gmail.com)
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 9 of 28 PageID #: 1916



Dear Judge Glasser,

        To know Gregg, is to know what every father hopes and dreams their son will turn into. I
have sat in the stands while hundreds of strangers have chanted his name, as he skated onto the ice
or ran onto the rugby pitch. I have beamed with pride countless times as Gregg’s name rang out
over the loud speaker announcing the “M.V.P.”, “Man of the Match” or first star of the game, but
sports are barely the tip of the iceberg that is my son.

        Starting from when Gregg was a little boy his desire to be the best at whatever he started
set him apart from other kids. “Anything worth doing was worth doing right” was the standard that
was automotive for my son. His discipline, drive and desire truly was the bridge between his goals
and his achievements; and his goals never seemed to stop growing. The only traits that outshined
this were his honesty and kindness.

        When Gregg was 12 years old he came to my wife and I and told us that he wanted a job
so he could buy himself a new KOHO catcher’s glove, and was very intent. I set up a job that I
was sure he would quit almost instantly. The job was to sweep and mop the office at a
manufacturing facility where my wife was employed. Safety Clean was a company that filled and
serviced fire extinguishers. It was merely four thousand square feet, and covered with white fire
extinguisher powder from front to back. The job paid $20 per week and I would take Gregg there
on the weekends early in the morning on the days that he didn’t have a practice or a game. I would
say that I was surprised when he “stuck it out”, but it was Gregg! He always took on the task with
effort and enthusiasm and did it right every time. I took Gregg to open a Royal Bank of Canada
savings account, and there he saved every penny for that glove, and recorded it in his passbook.
He bought that catcher’s mit that very next season.

        As I watched Gregg grow from a boy to a teen, and into a young man, he never stopped
surprising me. Gregg volunteered two weeks each summer from 1984 to 1987 with a group that
took children with Downs’s syndrome out to field trips, and to this day neither my wife nor I know
where the idea came from. There was no credit, and no payment. Gregg and a couple of his friends
just wanted to do it. Even when Gregg came to my wife and I as a 19 year old young man, and told
us that he wanted to move to the United States on his own to chase his dreams of owning his own
business, we thought it was a dream. We should have known better. Gregg would be the owner of
the business went to work for in just over one year.

        I never heard my son complain or make excuses while he often carried a “full load” of units
at college, ran his business and almost always had at least one other job. During this time Gregg
also continued to play rugby at the highest level playing three seasons for the Southern California
Griffens select side, and 16 seasons with Back Bay football club.

       I would have bet that there was no possible way to have impressed or made me even more
proud until I saw the type of father that my son had become. For all Gregg’s endless successes,
fatherhood was obviously his true calling. To see the love and devotion that my son consistently
shows his family is to see what I’m most proud of my son for. As I watched Gregg identify and
deal with developmental delays that affected his eldest daughter, and pull his family together; I
knew I was watching my hero.
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 10 of 28 PageID #: 1917




          Your Honor: I would beg you for the most amount of leniency that you and your Court will
 allow. My son is a kind, thoughtful, giving man that has always put others before himself. I have
 not known my son to deviate from any rule or guideline in any situation in his entire life. He had
 always listened to coaches, teachers, and in this situation unfortunately attorneys. Please give my
 son a chance to come home, and be a productive member of society and our family. If ever there
 was a man who deserved a second chance, this is a man who spent a lifetime earning it in advance.
 Please don’t let incarceration tear a loving sensitive man like my son apart; and it will tear him
 apart. If it sounds like I am begging Your Honor it’s because I am. To know even the smallest part
 of my son is to know that he belongs with his family. With all my heart I hope that I have shown
 you the honesty and integrity that my son has lived his life with.



                                                             Sincerely,


                                                             George Mulholland
     Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 11 of 28 PageID #: 1918


                                                                         Sarah Trepel <sarah@kousouroslaw.com>



Fwd: Gregg Mulholland
James <james@kousouroslaw.com>                                                         Fri, Jul 22, 2016 at 9:26 AM
To: Sarah Trepel <sarah@kousouroslaw.com>



 Sent from my iPhone

 Begin forwarded message:


       From: hilda kent <hildackent@yahoo.com>
       Date: July 22, 2016 at 9:05:58 AM EDT
       To: "james@kousouroslaw.com" <james@kousouroslaw.com>
       Subject: Fw: Gregg Mulholland
       Reply­To: hilda kent <hildackent@yahoo.com>




       On Friday, July 22, 2016 8:03 AM, hilda kent <hildackent@yahoo.com> wrote:



       To whom it may concern;

       I just want to send my thoughts regarding my brother­n­
       law, Gregg Mulholland. I have not known him long, only
       by family gatherings and reunions, and all the times I
       have gone with my family, we have always been treated
       like family. He has always welcomed us like we have
       known each other for many many years, when only we
       have met a couple of times.

       There was a couple of times when I was in desperate
       need, and you have this pride of asking someone for help,
       but he helped with no questions asked.

       Under the circumstances that he is in, I get it that we
       make mistakes in life, and some that we cannot go back
       in time and erase. We have to learn from our mistakes. I
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 12 of 28 PageID #: 1919
 remember from a police officer telling my Girl Scouts
 "people in jail are not bad people, they just made bad
 choices".

 I truly hope he has learned from his mistakes and will be
 willing to go the right path. He has a wife and children at
 home that need him and would like to share future
 memories with him.

 I believe in the justice system, I just wanted to say a little
 of what I know of him in the few times I have met him to
 you.

 Hilda Kent
     Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 13 of 28 PageID #: 1920


                                                                               Sarah Trepel <sarah@kousouroslaw.com>



Fwd: Greg Mulholland
1 message

James <james@kousouroslaw.com>                                                                Mon, Aug 22, 2016 at 6:59 PM
To: Sarah Trepel <sarah@kousouroslaw.com>



 Sent from my iPhone

 Begin forwarded message:


       From: "xj.monkey" <xj.monkey@yahoo.com>
       Date: August 22, 2016 at 6:50:18 PM EDT
       To: james@kousouroslaw.com
       Subject: Greg Mulholland


       Dear Judge Glasser. I am Greg Mulhollands brother in law Hugo vargas. What can i say about one of
       the most family oriented man i know. I raised my 3 kids on my own but i feel i could have taken many
       pointers from Greg. I have come over to visit and catch him in his work out routine carrying each child on
       his shoulders up and down the stairs and involving the girls in his regimen. As a husband to Delia he has
       always treated her with the greatest respect as if she is the only flower left on this planet. I dont think i
       could have a better brother in law. He's a man whom i never seen angry or raise his voice. He took very
       good care of his family. From teaching the girls how to cook and giving         the proper attention for her
       condition (a,d,d) she used to be in her own world and with gregs proper attention she is a normal little girl.
        (Brought tears to my eyes to see her carry a conversation ) I know we are not all perfect but i ask that you
       can cinsider of the life you can give    and the family with Greg coming home soon.
       Hugo



       Happy Connecting. Sent from my Sprint Samsung Galaxy S® 5
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 14 of 28 PageID #: 1921



 To whom it may concern:

 From the months of 9/13‐7/14 I worked as a tutor for Gregg’s two young girls. I worked 5 days a week
 and thus, spent ample time with Gregg. During that time, I saw the ins and outs of daily life at the
 Mulholland’s. Despite working from home for the majority of the day, Gregg managed to be an amazing
 father to his children and be a doting husband for his wife. Regardless of the circumstances, Gregg got
 the girls ready for school, made lunches, dropped them off, picked them up, made dinner, attended
 ballet recitals, and never missed a parent/teacher conference. Meanwhile, he never missed an
 opportunity to spend time with his girls. He is “Mr. Mom” as he always knowingly referred to himself.

 Gregg has always been a family man, often expressing his unconditional love for his daughters.
 Regardless of what has transpired, Gregg never ceased to put his children and family first. He took on a
 lot of different roles at home, but being a parent‐ a good one‐ was always his first priority.

 During my time working at the Mulholland’s, I witnessed Gregg’s countless interactions with a variety of
 his employees. His house was always bustling with housekeepers, tutors, contractors, etc. and he always
 treated each with kindness and respect.

 Over the months, I also saw Gregg graciously host his wife’s family, his parents, friends, and neighbors.
 He’d willingly go above and beyond to make them feel at home including making meals, driving them to
 appointments, and more.

 As someone who witnessed who Gregg really is, I feel this is the least I could do to help his
 circumstances. His two daughters,       and         , are amazing kids who deserve a father like Gregg.
 Someone who is present and seeks to protect their best interests. Someone who would do anything for
 them. Someone who gives them the attention and stability they deserve.         and         are both
 daddy’s girls, and I can’t imagine them growing up without the father they adore. Not only that, he is
 their sole provider, their comfort, and their best friend.

 In my short time working with       and       , I encountered someone who was nothing but respectful
 and grateful for the help I provided. Always present and courteous, my time at the Mulholland
 household was memorable in the best way. With that said, I’m grateful for having the opportunity to
 work in a household with children who I know were truly loved and protected.

 I hope that this testament of Gregg’s character makes a difference. Not only is it the least I could do, but
 it’s the right thing to do. I understand the charges against Gregg are serious, and in no way am I
 discrediting their severity, but in the interest of his daughters I’m hoping this letter can put his character
 into perspective. While I don’t condone what Gregg has done, a 20‐year sentence doesn’t seem fit‐ if for
 no other reason, for the sake of his daughters growing up in a positive and healthy environment.
 Without Gregg present, I worry for the well‐being of them both.

 Thank you in advance for reading this character reference. I appreciate your time and effort.

 Sincerely,


 Jaimie Mauvais
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 15 of 28 PageID #: 1922
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 16 of 28 PageID #: 1923



 To whom it may concern:



          I previously worked as a tutor for Gregg Mulholland’s two daughters,     and         from
 11/12­08/13. I was in the Mulholland house five days a week, and six hours a day. During my time there I
 got to experience firsthand what an amazing father Gregg is to his children. He was always present; he
 cooked breakfast and dinner, dropped and picked them up from school, wiped away tears, played silly
 games and was there to tuck both girls into bed every night. Gregg took on many different roles in his
 household, and being a parent is the most important to him.

             and        rely on Gregg for everything, and I cannot imagine them growing up without
 Gregg there to guide and comfort them. Seeing Gregg interact with them on a daily basis truly made you
 realize how much love he has for his girls. He loves them unconditionally and would do anything in his
 power to keep them safe and well cared for.

          During my time as       and         ’s tutor, Gregg was the one asking about what the girls were
 learning that day and took time from his busy day to come and see it for himself. He always made time
 for his girls, no matter how big or small it was, Gregg was always there. He never missed an important
 event, school performance, a family dinner or a parent teacher conference. This shows you how much
 pride Gregg takes in his role as a father.

          Being in the Mulholland house daily gave me the opportunity to see how Gregg interacted with
 his staff. Between nannies, housekeepers, tutors and construction workers, Gregg was nothing but
 respectful and grateful to each and every person. I also witnessed Gregg hosting his and his wife’s
 families several times, and it was always blatantly clear how important family is to him and how much
 unconditional love he has for everyone.

          In my time working as the girls’ tutor I have nothing but great things to say about Gregg as a
 father, friend and person. He was always present in day to day activities, and was gracious towards me
 and everyone he came in contact with. I have nothing but great memories while working with Gregg’s
 daughters, and I consider myself grateful to have had the opportunity.

          I hope that this letter can offer some clarity to Gregg’s character. I am in no way trying to
 diminish the severity of the crimes that Gregg has been charged with, nor do I condone what he has done,
 but I do not believe Gregg should receive a long jail sentence.       and         deserve a stable and loving
 environment, and they will not have one with Gregg gone. He is their life line, their sole provider and
 their rock. I truly fear for the girls’ development and emotional well­being should Gregg be sentenced to
 serve a long time in jail.

         Thank you for taking the time to read this character reference. I appreciate you allowing me to
 help and hopefully make a difference.

         Sincerely,

         Jillian Anderson
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 17 of 28 PageID #: 1924



                                                                         25 June 2016

     To Whom It May Concern:

     I have had the privilege of knowing Greg Mulholland for the past 17 years.

     I first met Greg in 1999 when I joined the Back Bay Rugby Club in Newport
     Beach. Greg was a senior player on the team and I was only 17 years old. Without
     being asked Greg took me under his wing and made me feel at home amongst the
     senior players. From that day forward our relationship has grown and I look up
     to Greg as an older brother.

     Over the past 17 years I was able to bear witness to Greg in many facets of his
     life. From the passion he displayed on the rugby field, the unbelievable work
     ethic he showed in business and most importantly the incredible amount of love
     and compassion he showed for his friends and family was truly admirable. He
     has always been one of the most dependable people I knew, anything I ever
     needed I knew I could ask Greg for and he would go out of his way to help.

     Greg’s moral compass is incredibly strong and he was always a pillar of strength
     for teammates, friends and family. It is this strong set of values that set Greg
     apart from other friends I have made over the years.

     I can honestly say that in Greg Mulholland you will find a loving man with
     integrity, ambition and uncompromising amount selflessness who would go to
     the ends of the earth the help his friends and family.



     Sincerely,

     Jon-­‐Luca Del Fante
     jldelfante@gmail.com
     +27 76 1199 603
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 18 of 28 PageID #: 1925



                                         KATHARINE JOHNSTON
                                          3509 Capilano Road
                                     North Vancouver, B.C. V7R 4H9
                                           Tel: 604.908.6531



 Honorable Judge Glasser

 Dear Sir:

 Re: Mulholland, Gregg

 I have known Gregg Mulholland since 2007 both in a professional capacity and personally.

 I am writing to ask Your Honor to please factor into your consideration that Gregg is a devoted husband
 and family man who has young daughters as well as a stepson. He is solely responsible financially for his
 young family.

 Gregg is one of the kindest, most generous and caring men that I have ever met. He has done more for
 me than I will ever be able to do for him. He is polite, funny and very considerate. He is a good and
 decent man that made a terrible mistake.

 I know Gregg well enough that I can say without reservation that he will never repeat the type of
 business practices that have landed him before your Honorable Court. If anybody has ever learned their
 lesson it is Gregg.

 He, Delia and their young family have suffered terribly through this. I wish I could have done more for
 them.

 I would ask Your Honor to please consider that Gregg is young with a whole life ahead of him. He has
 run successful legitimate businesses in the past and he will again. He has young daughters that need
 their father to be responsible for them both financially and emotionally. He and Delia love each other
 and will rebuild their lives in a positive and contributory way. He comes from a good loving family.

 Thank you for taking the time to let me tell you about Gregg.

 Respectfully,

 Katharine Johnston
     Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 19 of 28 PageID #: 1926


                                                                               Sarah Trepel <sarah@kousouroslaw.com>



Fwd: Reference For Gregg
1 message

James <james@kousouroslaw.com>                                                                 Thu, Jun 23, 2016 at 3:36 PM
To: Sarah Trepel <sarah@kousouroslaw.com>



 Sent from my iPhone

 Begin forwarded message:


       From: George Mulholland <oldmully@gmail.com>
       Date: June 23, 2016 at 3:17:17 PM EDT
       To: james@kousouroslaw.com
       Subject: Fwd: Reference For Gregg



       ­­­­­­­­­­ Forwarded message ­­­­­­­­­­
       From: kjcrosby <kjcrosby@shaw.ca>
       Date: Sat, May 7, 2016 at 5:45 PM
       Subject: Reference For Gregg
       To: Pat Mulholland <oldmully@gmail.com>


       To Judge Glasser,

       I am Kathy Crosby, Gregg Mulholland's aunt and have known Gregg all his life.

       Gregg was raised in a very loving, supportive environment. His parents are hard working people who
       devoted their lives to their two children. Both Gregg and his brother were involved in sports from a very
       early age, particularly hockey , which they played right until they were adults. Gregg's parents were
       dedicated to taking him and his brother to scheduled hockey practices & games on a weekly bases for
       years and were always in the stands cheering them on.

       Even though Gregg chose to move away from home in Calgary, Alberta to California after high school to
       pursue work , he has always kept in close contact with his family . He has visited them in Calgary over the
       years regularly and has invited his parents to visit him in his home every year. He has always shown his
       love and concern towards them, speaking to them on a weekly bases by telephone.

       Gregg is a very loving son, husband and devoted father, doting on his two lovely girls, making sure that
       they have the love & support that was shown to him by his parents and grandparents. He has always been
       a nice boy, a pleasure to be around.

       Yours truly,




       Kathy Crosby

       Sent from my iPad
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 20 of 28 PageID #: 1927
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 21 of 28 PageID #: 1928

                                                                                                 Kathy Frater
                                                                          16302 Saratoga Lane Huntington Beach, CA 92649
                                                                       Phone: 714-846-3450  E-Mail: swisspony@yahoo.com




 August 4, 2016


 To Whom It May Concern:

 Please accept this letter as my personal reference for Gregg Mulholland. I met Gregg in 2008, after I
 started dating my husband, Cameron. Cameron would refer to Gregg as his “Best Friend” and “Brother”
 and attributed this to their first meeting, when he first began playing with the rugby club. Gregg was the
 first person to put his hand out and offer his friendship and help to my husband and they quickly became
 lifelong friends and “family” to my husband, daughter and I.

 When I met Gregg, he and his wife Delia were expecting their first child. He was an incredibly attentive
 and doting husband and his adoration and affection for Delia was apparent in his every interaction. Gregg
 always made it very clear, his wife and family came first in his life and his love and affection is an
 example of how all men should respect and love their wives.

 When I met Gregg in that first meeting, I was struck by the intensity of his excitement at becoming a first
 time father and can truly say, his love for his children has only intensified as time has progressed. I am
 continually impressed with his level of engagement with his daughters; from diapers, to illness, to their
 first steps and dance lessons and first day of school, Gregg was always present. He is a patient, involved,
 calm and affectionate Dad who has cultivated an incredible bond with his girls.

 I truly wish and pray this letter will provide insight into the wonderful husband and father; Gregg is to his
 Delia and his daughters and the court will show leniency in this matter.



 Sincerely,



 Kathy Frater
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 22 of 28 PageID #: 1929
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 23 of 28 PageID #: 1930



 The Honorable I. Leo Glasser
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Mary Mulholland
 369 Silver Springs Way NW
 Airdrie, Alberta
 T4B 2X8
 Canada


 June 9, 2016

 Dear Judge Glasser,

 I am writing to you concerning my brother‐in‐law, Gregg Mulholland. I have known Gregg for over 18
 years.

 I know Gregg to be a devoted family man, as a husband to Delia Mulholland and a loving and doting
 father to his two daughters,      (7) and         (5). He is also my eldest daughter’s godfather. Gregg
 cares deeply about his family and shares a wonderful relationship with his parents. Prior to his detention
 he would call his mother almost daily. She would in turn pass along his family news and it would help
 bring us all closer together despite our geographical distance. Unfortunately, Gregg has not been able to
 call his mother from prison and I know this has caused her a lot of stress, heartache and pain. We are a
 tight knit family, of which Gregg is an integral part.

 Gregg’s daughters,       and        miss him dearly. The past eleven months have taken a toll on the
 entire family but most especially on his young daughters. Despite talking to him for a few brief minutes
 daily, they desperately miss him. As far back as Christmas, when Delia and the girls came to Calgary for
 the holidays, it was clear that       was already pulling away from her father and didn’t want to talk to
 him on the phone. She couldn’t understand why he wasn’t with them for Christmas and it was truly
 heartbreaking to witness. I can only imagine their relationship has further deteriorated since then. Both
 girls are too young to fully understand why their father isn’t there to read them bedtime stories and
 tuck them in at night. Furthermore, Gregg has been incarcerated at The Metropolitan Detention Center
 in Brooklyn New York for over 11 months and it is located on the opposite coast from where his
 immediate family live in Vancouver, Canada. Due to distance, financial constraints and the
 inappropriateness of taking young girls into a maximum security federal detention center, the girls have
 not seen their father since he was taken into custody last June.

 My husband travelled from our home just outside Calgary, Canada to New York City in order to visit his
 brother in early December 2015. Although he was classified as an international visitor, their time
 together was unfortunately cut short by detention center staff. He told me how haggard his brother
 looked and how appalled he was at the very scary prison conditions. His brother told him how much he
 missed his family and sincerely regretted any and all actions which had landed him in prison despite not
 knowing what all the charges were at that time. My husband has kept in regular contact with Gregg via
 email and despite the challenging circumstances, the brothers have become closer over the past year.
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 24 of 28 PageID #: 1931



 It is clear to me that Gregg deeply regrets his actions which have led to his plea agreement of conspiracy
 to commit money laundering. The crippling toll his actions have had on his family and his relationship
 with his daughters has proven to be the harshest punishment of all. I believe that his actions were
 caused by very poor judgement on his part and I could not imagine that he would ever reoffend and risk
 hurting those he loves most again. I have never known him to have been in trouble with the law before.
 Gregg is not a violent man nor have I known him to ever intentionally hurt another person in any way.
 He has always displayed tremendous generosity and shown empathy toward his fellow man.

 I ask for as much leniency as the court will allow in Gregg Mulholland’s sentencing. I would ask you to
 please take the following crucial details into consideration: the hardship already incurred by his family,
 in particular his daughters, his time already served, the maximum security facility in which he has served
 the past 11 months and the prohibitive location and distance of the federal detention center relative to
 his family. If the court determines that he must continue to serve time in prison, I ask that he be
 transferred to a minimum security facility closer to his family. We would like to be able to support him in
 person and I believe it is critical that my nieces re‐establish their relationship with him as soon as
 possible.

 We are here to support Gregg in any way we can and look forward to having him back among family to
 celebrate the next family milestones, birthdays and holidays.



 Respectfully,




 Mary Mulholland
     Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 25 of 28 PageID #: 1932


                                                         Sarah Trepel <sarah@kousouroslaw.com>



Fwd: Gregg R .Mulholland
James <james@kousouroslaw.com>                                       Thu, Jun 23, 2016 at 3:36 PM
To: Sarah Trepel <sarah@kousouroslaw.com>



 Sent from my iPhone

 Begin forwarded message:


       From: George Mulholland <oldmully@gmail.com>
       Date: June 23, 2016 at 3:07:38 PM EDT
       To: james@kousouroslaw.com
       Subject: Gregg R .Mulholland


       June 23, 2016


       To Judge Glasser;

            I would like to tell you about some memories about my son Gregg, from
       the beginning he was special and gave us great joy,
       "one of a kind". He had a mind of his own wanting to make a difference,
       always had his dreams to pursue.

           His first job was cleaning the floors on Sundays at the company where I
       worked, then he was hired at a promotional
       company, where he stayed for about a year learning to write some of the
       opening lines to the pitch for the product.

            When Gregg was 18 my mother had a stroke, he helped work with her to
       get her speech back. He wanted her to be at his
       graduation or he said he would not go, she went in her wheelchair, he kept
       trying to help her with disabilities until she passed
       away.

            Gregg said he wanted to go to the United States to try and pursue some
       of the things he hoped to accomplish we let him
       go as we had relatives he could stay with. He started work quite quickly and
       also went back to school to get better jobs he got
       as many hours he could to, always trying to better himself.

          The one thing that was missing was for him to to get married, in June of
       2006 he married Delia, they then had their first
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 26 of 28 PageID #: 1933
 child       who is now 7 is his princess that he adores, he spent a lot of time
 reading and trying to teach her how to learn
 her ABC'S and her numbers. His second girl             who is 5 years old is a
 ball of fire who keeps every one busy. Gregg spent
 as much time as he could with them showing as much love he could give
 them I know being away from them is very hard for him.
 They all have been devastated with what has been going on, but right now
 the girls think that dad is away at work.

     If you could please show some leniency it would go a long way to try and
 get our family feeling better, I have a large hole in
 my heart waiting to talk to him and give him a big hug.

    If he were to be transferred to Canada his father and I could see him and
 give him support which is now lacking.




 Patricia H. Mulholland
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 27 of 28 PageID #: 1934
Case 1:14-cr-00476-ILG Document 169-5 Filed 01/10/17 Page 28 of 28 PageID #: 1935
